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.2
 ary Services
                                             UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                     EASTERN DIVISION


        In re:                                            §
                                                          §
        AEC ELECTRIC CORP.,                               §     Case No. 14-45427
                                                          §
                            Debtor(s)                     §

                        CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                        REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                        ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                Phillip D. Levey, chapter 7 trustee, submits this Final Account, Certification that the
        Estate has been Fully Administered and Application to be Discharged.

                1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
        and, if applicable, any order of the Court modifying the Final Report. The case is fully
        administered and all assets and funds which have come under the trustee’s control in this case
        have been properly accounted for as provided by law. The trustee hereby requests to be
        discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
        discharged without payment, and expenses of administration is provided below:


        Assets Abandoned: 76,000.00                              Assets Exempt: 0.00
        (Without deducting any secured claims)

        Total Distributions to Claimants: 216,418.52             Claims Discharged
                                                                 Without Payment: 2,798,686.81

        Total Expenses of Administration: 470,589.40




                3) Total gross receipts of $ 687,007.92 (see Exhibit 1), minus funds paid to the debtor
        and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 687,007.92 from the
        liquidation of the property of the estate, which was distributed as follows:




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                                                 CLAIMS            CLAIMS                  CLAIMS                CLAIMS
                                               SCHEDULED          ASSERTED                ALLOWED                 PAID



SECURED CLAIMS
(from Exhibit 3)                                $ 3,271,659.00     $ 1,365,641.82           $ 124,040.92          $ 124,040.92

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA          835,097.49             835,097.49            470,589.40

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                 NA                     NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                          119,934.00          158,193.84               6,022.59                 6,022.59

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                           2,635,947.03       1,168,284.72           1,168,284.72                86,355.01

TOTAL DISBURSEMENTS                             $ 6,027,540.03     $ 3,527,217.87         $ 2,133,445.72          $ 687,007.92


                  4) This case was originally filed under chapter 7 on 12/22/2014 . The case was pending
          for 71 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 10/12/2020                       By:/s/Phillip D. Levey
                                                                                Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                            EXHIBITS TO
                                                          FINAL ACCOUNT


              EXHIBIT 1 – GROSS RECEIPTS

                             DESCRIPTION                                   UNIFORM                                     $ AMOUNT
                                                                          TRAN. CODE1                                  RECEIVED

    Accounts Receivable                                                      1121-000                                         507,009.54

    Trustee v. W.B. Olson, Inc.                                              1121-000                                          15,542.38

    Trustee v. Geosolar Energy Farm, Inc., et al.                            1121-000                                          55,000.00

    Trustee v. Dean Baba                                                     1241-000                                           4,500.00

    Trustee v. Matthew Baba                                                  1241-000                                          18,000.00

    Trustee v. Avondale Electric                                             1241-000                                           8,330.00

Trustee v. Consolidated Electrical d/b/a Efengee                             1241-000                                           9,000.00

    Trustee v. Communication Supply Corp.                                    1241-000                                           8,000.00

    Trustee v. Paramount                                                     1241-000                                          50,000.00

    Trustee v. Brendan Conway                                                1249-000                                          10,000.00

     State of Illinois-Unclaimed Property Payment                            1290-000                                           1,626.00

TOTAL GROSS RECEIPTS                                                                                                      $ 687,007.92
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES




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                  PAYEE                                      DESCRIPTION                       UNIFORM             $ AMOUNT
                                                                                              TRAN. CODE              PAID

NA                                                                                               NA                           NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                               $ 0.00
THIRD PARTIES


            EXHIBIT 3 – SECURED CLAIMS

                                               UNIFORM        CLAIMS
                                                                              CLAIMS              CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.      SCHEDULED                                               CLAIMS PAID
                                                                             ASSERTED            ALLOWED
                                                CODE      (from Form 6D)

            Chase Bank                                           46,709.00              NA                   NA               0.00


            Community Bank of Oak Park
            River Forest 1001 Lake Street
            Oak Park, IL 60301                                1,600,000.00              NA                   NA               0.00


            Des Plaines Office Equipment
            1020 Bonaventure Drive
            Niles, IL 60714                                           0.00              NA                   NA               0.00


            RBS/Citizens Bank PO Box
            42113 Providence, RI 02940                           24,950.00              NA                   NA               0.00


            COMMUNITY BANK OF
000007      OAK PARK RIVERFOR                  4210-000       1,600,000.00     1,365,641.82           124,040.92       124,040.92

TOTAL SECURED CLAIMS                                        $ 3,271,659.00   $ 1,365,641.82       $ 124,040.92       $ 124,040.92


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES




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                                            UNIFORM
                                                            CLAIMS          CLAIMS          CLAIMS
                PAYEE                        TRAN.                                                           CLAIMS PAID
                                                          SCHEDULED        ASSERTED        ALLOWED
                                             CODE

TRUSTEE
COMPENSATION:LEVEY,
PHILLIP D.                                  2100-000                  NA       37,600.40       37,600.40          37,600.40


TRUSTEE EXPENSES:LEVEY,
PHILLIP D.                                  2200-000                  NA          525.32           525.32            525.32


ARTHUR B. LEVINE CO., INC.                  2300-000                  NA          176.72           176.72            176.72


TECHNOLOGY SUPPORT &
SOLUTIONS, INC                              2410-000                  NA          653.20           653.20            653.20


ASSOCIATED BANK                             2600-000                  NA        5,515.17          5,515.17         5,515.17


CLERK, U.S. BANKRUPTCY
COURT                                       2700-000                  NA          176.00           176.00            176.00


CORNERSTONE SOLUTIONS,
INC.                                        2990-000                  NA          591.00           591.00            591.00


VERITEXT MIDWEST                            2990-000                  NA          155.00           155.00            155.00


ATTORNEY FOR TRUSTEE FEES
(TRUSTEE FIRM):LEVEY,
PHILLIP D.                                  3110-000                  NA       55,800.00       55,800.00          55,800.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):CARLSON DASH,
LLC                                         3210-000                  NA      330,618.80      330,618.80         330,618.80




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                                           UNIFORM
                                                           CLAIMS          CLAIMS          CLAIMS
               PAYEE                        TRAN.                                                           CLAIMS PAID
                                                         SCHEDULED        ASSERTED        ALLOWED
                                            CODE

ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):SAUL EWING
ARNSTEIN & LEHR, LLP                       3210-000                  NA       25,110.01       25,110.01          25,110.01


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):CARLSON DASH,
LLC                                        3210-600                  NA      330,618.80      330,618.80               0.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):SAUL EWING
ARNSTEIN & LEHR, LLP                       3210-600                  NA       25,110.01       25,110.01               0.00


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):CARLSON DASH, LLC                    3220-000                  NA        7,003.55          7,003.55         7,003.55


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER FIRM):SAUL
EWING ARNSTEIN & LEHR, LLP                 3220-000                  NA        1,775.73          1,775.73         1,775.73


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):CARLSON DASH,
LLC                                        3220-610                  NA        7,003.55          7,003.55             0.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):SAUL EWING
ARNSTEIN & LEHR, LLP                       3220-610                  NA        1,775.73          1,775.73             0.00


ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):KUTCHINS,
ROBBINS & DIAMOND, LTD.                    3410-000                  NA        4,888.50          4,888.50         4,888.50




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                                          UNIFORM
                                                             CLAIMS            CLAIMS              CLAIMS
              PAYEE                        TRAN.                                                                   CLAIMS PAID
                                                           SCHEDULED          ASSERTED            ALLOWED
                                           CODE

TOTAL CHAPTER 7 ADMIN. FEES                                         $ NA        $ 835,097.49       $ 835,097.49       $ 470,589.40
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                             CLAIMS            CLAIMS              CLAIMS
              PAYEE                        TRAN.                                                                   CLAIMS PAID
                                                           SCHEDULED          ASSERTED            ALLOWED
                                           CODE

NA                                             NA                      NA                 NA                NA                NA

TOTAL PRIOR CHAPTER ADMIN.                                          $ NA                $ NA              $ NA               $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                               CLAIMS            CLAIMS
                                               UNIFORM
                                                             SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                              CLAIMS PAID
                                                              (from Form      (from Proofs of     ALLOWED
                                                CODE
                                                                  6E)             Claim)

            Electrical Insurance Trustees
            221 North La Salle Drive
            Chicago, IL 60601                                     12,475.00                 NA              NA                0.00


            Paychex, Inc. 230 West
            Monroe Street #1020 Chicago,
            IL 60606                                              20,459.00                 NA              NA                0.00


            NATIONAL ELECTRICAL
000012A     BENEFIT FUND                        5400-000          87,000.00            4,421.13         4,421.13          4,421.13


            ILLINOIS DEPARTMENT
000019      OF REVENUE                          5800-000                NA               222.39          222.39            222.39




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                                                            CLAIMS             CLAIMS
                                               UNIFORM
                                                          SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                           CLAIMS PAID
                                                           (from Form       (from Proofs of     ALLOWED
                                                CODE
                                                               6E)              Claim)

            ILLINOIS DEPT OF
000018-A    EMPLOYMENT SECURIT                 5800-000               NA             1,315.21       1,315.21         1,315.21


            INTERNAL REVENUE
000020      SERVICE                            5800-000               NA          152,235.11           63.86            63.86

TOTAL PRIORITY UNSECURED                                     $ 119,934.00       $ 158,193.84       $ 6,022.59       $ 6,022.59
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS             CLAIMS
                                               UNIFORM
                                                          SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                           CLAIMS PAID
                                                           (from Form       (from Proofs of     ALLOWED
                                                CODE
                                                               6F)              Claim)

            ADI                                                  1,661.12                 NA              NA              0.00


            AT&T Mobility PO Box 6463
            Carol Stream, IL 60197-6463                            414.47                 NA              NA              0.00


            Accu-Tech 1495 Hembree
            Road, Suite 100 Roswell, GA
            30076                                               25,569.90                 NA              NA              0.00


            Bank of America PO Box
            15220 Wilmington, DE
            19886-5220                                             885.50                 NA              NA              0.00


            Blueprint Shoppe 5128 N.
            Elston Chicago, IL 60630                               195.90                 NA              NA              0.00




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                                                           CLAIMS            CLAIMS
                                               UNIFORM
                                                         SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                       CLAIMS PAID
                                                          (from Form      (from Proofs of    ALLOWED
                                                CODE
                                                              6F)             Claim)

            Bright Electrical Supply Co.
            217 N. Western Ave. Chicago,
            IL 60612                                          39,311.75                 NA             NA            0.00


            Brook Electrical Distribution
            62393 Collections Center Dr.
            Chicago, IL 60693                                116,271.98                 NA             NA            0.00


            Butler Coring Inc. 1350 Tri-
            State Parkway Gurnee, IL
            60031                                             16,154.00                 NA             NA            0.00


            C.W. Olson & Company 1701
            Golf Road, Tower 3 Rolling
            Meadows, IL 60008                                    700.00                 NA             NA            0.00


            CSC Communication Supply
            3462 Solution Center Dr.
            Chicago, IL 60677-3004                            12,877.02                 NA             NA            0.00


            Centric Corporation 10245
            Summerwind Dr. Boise, ID
            83704                                             58,063.00                 NA             NA            0.00


            Chase Auto Finance PO Box
            9001801 Louisville, KY
            40290-1801                                           927.40                 NA             NA            0.00


            Chase Bank Saint Louis, MO
            63179                                                  0.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            City of Chicago Dept. of
            Buildings/License & Regist
            120 N. Ra Chicago, IL 60607                           352.50                 NA             NA            0.00


            Comcast PO Box 3001
            Southeastern, PA 19398-3001                           417.33                 NA             NA            0.00


            Commitment Forms &
            Graphics PO Box 554
            Elmhurst, IL 60126                                    365.10                 NA             NA            0.00


            Common Sense Solutions 200
            W. 22nd St., #202 Lombard,
            IL 60148                                            1,778.00                 NA             NA            0.00


            Cornerstone Solutions 901 W.
            Jackson Blvd., #402 Chicago,
            IL 60607                                              669.37                 NA             NA            0.00


            Crescent Electric Supply Co.
            PO Box 500 East Dubuque, IL
            61025-4420                                            642.67                 NA             NA            0.00


            Dell Business Credit Payment
            Processing Center PO Box
            Carol Stream, IL 60197-5275                         1,223.68                 NA             NA            0.00


            Des Plaines Office Equipment
            1020 Bonaventure Drive Elk
            Grove Village, IL 60007                             1,292.39                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Diamond Rigging Cororation
            680 Kingsland Drive Batavia,
            IL 60510                                           31,726.47                 NA             NA            0.00


            Dude Electrical Testing, LLC
            145 Tower Drive, Unit 9
            Willowbrook, IL 60527                              63,520.00                 NA             NA            0.00


            Fire & Security Specialist
            4830 W. 128th Place Avera,
            GA 30803                                            1,830.00                 NA             NA            0.00


            First Communications
            Globalcom, Inc. PO Box
            Columbus, OH 43218-2263                             2,058.46                 NA             NA            0.00


            First Security Systems, Inc.
            1811 High Grove Lane, #1
            Naperville, IL 60540                                1,830.00                 NA             NA            0.00


            Forces, Inc. 31W350 Diehl
            Road Naperville, IL 60563-
            9630                                                    0.50                 NA             NA            0.00


            Fuller Construction, LLC
            1579 King George Court
            Palatine, IL 60067                                  6,480.00                 NA             NA            0.00


            G&W Electric Company
            25249 Network Place
            Chicago, IL 60673-1252                            185,000.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Garvey's Office Products 7500
            N. Caldwell ave. Niles, IL
            60714                                                 669.48                 NA             NA            0.00


            Graybar Electric Co., Inc.
            12431 Collections Center
            Drive. Chicago, IL 60693                            2,471.99                 NA             NA            0.00


            Gus Berthold Electric
            Company 1900 W. Carroll
            Ave. Chicago, IL 60612                            131,669.38                 NA             NA            0.00


            Helical Pier Solution, Inc. Box
            311 Wilmot, WI 53192                                4,440.00                 NA             NA            0.00


            High Voltage Electric, Inc.
            102 N. Fifth Ave. Saint
            Charles, IL 60174                                 115,755.30                 NA             NA            0.00


            Hinckley Springs PO Box
            660579 Dallas, TX 75266-
            0579                                                   37.37                 NA             NA            0.00


            Home Depot Credit Card
            Department 32-2541898825
            PO Box 18 Columbus, OH
            43218-3176                                          8,738.48                 NA             NA            0.00


            Howard Goldfine                                       418.95                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Illinois Secretary of State
            Dept. of Business Services
            501 S. Se Springfield, IL
            62756                                                 111.00                 NA             NA            0.00


            Jack's Inc. 6638-42 W. 26th
            Street Berwyn, IL 60402                               170.26                 NA             NA            0.00


            L.N.P. Development 1052 S.
            Chestnut Ave. Arlington
            Heights, IL 60005                                     450.00                 NA             NA            0.00


            LeMoi Hardware                                        603.05                 NA             NA            0.00


            Lead Industries, Inc. 5601 W.
            Howard St. Niles, IL 60714                         80,961.48                 NA             NA            0.00


            Liberty Mutual Insurance Co.
            25761 Network Place
            Chicago, IL 60673-1257                                150.00                 NA             NA            0.00


            LoVerde Construction 800 S.
            Milwaukee Ave. Wheeling, IL
            60090                                              22,566.85                 NA             NA            0.00


            Marciano Underground LLC
            8525 W. 191st St., Unit 32
            Mokena, IL 60448                                    8,085.00                 NA             NA            0.00




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Marshall Electric Supply, Inc.
            7400 N. Western Ave.
            Chicago, IL 60645                                   3,643.88                 NA             NA            0.00


            McCann 543 S. Rohlwing Rd.
            (Route 53) Addison, IL
            60101-4284                                            110.42                 NA             NA            0.00


            Metropolitan Industries, Inc.
            37 Forestwood Drive
            Romeoville, IL 60446                               43,329.00                 NA             NA            0.00


            Midwest Fence Corporation
            900 N. Kedzie Ave. Chicago,
            IL 60651-4187                                       1,510.00                 NA             NA            0.00


            Millennium Contracting Corp.
            1841 S. Calumet Ave., #120
            Chicago, IL 60616                                  13,816.00                 NA             NA            0.00


            Mine Safety Appliances 8047
            W. 185th St. Tinley Park, IL
            60487                                                 700.00                 NA             NA            0.00


            Nat'l Electrical Benefit FUnd
            Chicago & Cook County EBB
            #16 Five West Westchester,
            IL 60154                                            4,376.76                 NA             NA            0.00


            Nicor PO Box 5407 Carol
            Stream, IL 60197-5407                                 212.70                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                        CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                                6F)             Claim)

            Niles Police Department 7000
            W. Touhy Niles, IL 60714-
            4393                                                   200.00                 NA             NA            0.00


            Paramount Electric Supply,
            Inc. 75 Remittance Drive
            Dept. 6659 Chicago, IL
            60675-6659                                         469,620.40                 NA             NA            0.00


            Siemens Industry, Inc. c/o
            Citibank (Bldg Tech) PO Box
            Carol Stream, IL 60132-2134                         56,084.86                 NA             NA            0.00


            Simplex Grinnell Dept. CH
            10320 Palatine, IL 60055-
            0320                                                14,686.98                 NA             NA            0.00


            Sub Surface Vision Inc. 1161
            W. Frank St. Beecher, IL
            60401                                                1,500.00                 NA             NA            0.00


            Village of Niles Regional
            Processing Center PO Box
            Carol Stream, IL 60197-4006                             55.00                 NA             NA            0.00


            Weltman Bernfield LLC 485
            E. Half Day Road, #250
            Buffalo Grove, IL 60089-8806                        49,935.00                 NA             NA            0.00


000006      C.W. OLSON & COMPANY                7100-000           700.00         126,473.84     126,473.84       28,039.17




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                                                             CLAIMS            CLAIMS
                                                UNIFORM
                                                           SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                            (from Form      (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)             Claim)

000010      CRP HOLDINGS C, L.P.                7100-000              NA           22,002.79       22,002.79        4,878.00


            DELL FINANCIAL
000008      SERVICES, LLC                       7100-000         1,223.68            3,622.73       3,622.73          803.16


            GREATAMERICA
            FINANCIAL SERVICES
000003      COR                                 7100-000              NA           14,769.11       14,769.11        3,274.30


            METROPOLITAN
000005      INDUSTRIES, INC.                    7100-000        43,329.00          43,329.00       43,329.00        9,606.01


            NATIONAL ELECTRICAL
000012B     BENEFIT FUND                        7100-000         4,376.76              958.19         958.19          212.43


            NORTHWESTERN
000013      UNIVERSITY                          7100-000       131,669.38         131,669.38      131,669.38       29,191.02


000011      PAUL HORAK                          7100-000              NA             4,400.00       4,400.00          975.48


000009      PAYCHEX INC                         7100-000        20,459.00          21,556.81       21,556.81        4,779.13


            PENSKE TRUCK LEASING
000001      CO., L.P.                           7100-000              NA             3,786.77       3,786.77          839.52


000004      SIMPLEXGRINNELL                     7100-000        14,686.98          13,551.90       13,551.90        3,004.45


000002      SPRINT CORP.                        7100-000              NA             3,393.50       3,393.50          752.34


            NORTHWESTERN
000014      UNIVERSITY                          7200-000        39,311.75          52,703.60       52,703.60            0.00




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                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                            (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)              Claim)

            NORTHWESTERN
000015      UNIVERSITY                          7200-000       469,620.40          481,049.76       481,049.76              0.00


            NORTHWESTERN
000016      UNIVERSITY                          7200-000       185,000.00          185,000.00       185,000.00              0.00


            NORTHWESTERN
000017      UNIVERSITY                          7200-000       116,271.98           59,417.34         59,417.34             0.00


            ILLINOIS DEPT OF
000018-B    EMPLOYMENT SECURIT                  7300-000               NA               600.00           600.00             0.00

TOTAL GENERAL UNSECURED                                     $ 2,635,947.03     $ 1,168,284.72    $ 1,168,284.72      $ 86,355.01
CLAIMS




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                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:       1
                                                                                                       ASSET CASES                                                                                              Exhibit 8
Case No:            14-45427        TAB    Judge: TIMOTHY A. BARNES                                                                      Trustee Name:                      Phillip D. Levey
Case Name:          AEC ELECTRIC CORP.,                                                                                                 Date Filed (f) or Converted (c):    12/22/14 (f)
                                                                                                                                        341(a) Meeting Date:                02/06/15
For Period Ending: 03/31/20                                                                                                             Claims Bar Date:                    08/12/15



                                      1                                                  2                         3                         4                         5                                  6
                                                                                                          Estimated Net Value
                                                                                     Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                     Unscheduled         Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                            Values               and Other Costs)          OA=554(a) Abandon             the Estate

 1. Financial Accounts                                                                        0.00                           0.00                                                0.00                  FA
     Checking account no. ending 0161 Community Bank of Oak Park/River
     Forest 1001 Lake St. Oak Park, IL (account swept by bank)
 2. Security Deposits                                                                     3,000.00                           0.00                                                0.00                  FA
     Security deposit with Colliers International (landlord) 8120 Lehigh Ave.
     Morton Grove, IL 60503
 3. Accounts Receivable                                                               1,100,000.00                           0.00                                          507,009.54                  FA
     Accounts receivable subject to lien in favor of Bank in excess of value.
     Pursuant to agreement with Bank, retained Carlson Dash law firm to
     institute litigation to collect accounts receivable with a carve-out for
     costs of administration and general unsecured creditors.
 4. 2011 Jeep Cherokee                                                                  19,000.00                            0.00                                                0.00                  FA
     2011 Jeep Cherokee
 5. 2013 Jeep Cherokee                                                                  22,000.00                            0.00                                                0.00                  FA
     2013 Jeep Cherokee
 6. Office Equipment                                                                    12,000.00                            0.00                                                0.00                  FA
     6 work stations, 6 computers
 7. Machinery and Supplies                                                              20,000.00                            0.00                                                0.00                  FA
     Liquidation value Hydraulic benders Cable pullers Audio visual
     instrumentation meters High voltage hypot instruments Miscellaneous
     conduit benders Hydraulic cable cutters Hudraulic 20 foot lifts Ladders,
     vices and small hand tools Battery and power hand drills
 8. Trustee v. Dean Baba (u)                                                                  0.00                      4,500.00                                             4,500.00                  FA
     Fraudulent conveyance claim re 2003 BMW 330ci.
 9. Trustee v. Matthew Baba (u)                                                               0.00                     18,000.00                                            18,000.00                  FA
     Fraudulent conveyance claim re 2008 BMX X5 SUV.
 10. State of Illinois-Unclaimed Property Payment (u)                                         0.00                      1,626.00                                             1,626.00                  FA



LFORM1                                                                                                                                                                                                                Ver: 22.02c
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                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        2
                                                                                                            ASSET CASES                                                                                                   Exhibit 8
Case No:             14-45427       TAB     Judge: TIMOTHY A. BARNES                                                                            Trustee Name:                       Phillip D. Levey
Case Name:           AEC ELECTRIC CORP.,                                                                                                       Date Filed (f) or Converted (c):     12/22/14 (f)
                                                                                                                                               341(a) Meeting Date:                 02/06/15
                                                                                                                                               Claims Bar Date:                     08/12/15



                                        1                                                   2                            3                          4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 11. Trustee v. Brendan Conway (u)                                                               0.00                          10,000.00                                            10,000.00                     FA
     Fraudulent transfer of 2008 Chevrolet Tahoe LT.
 12. Trustee v. Avondale Electric (u)                                                            0.00                           8,330.00                                             8,330.00                     FA
     Preference action.
 13. Trustee v. Consolidated Electrical d/b/a Efengee (u)                                   Unknown                                 0.00                                             9,000.00                     FA
     Preference Action.
 14. Trustee v. W.B. Olson, Inc.                                                           28,731.58                                0.00                                            15,542.38                     FA
     Accounts receivable subject to lien in favor of Bank in excess of value.
     Pursuant to agreement with Bank, retained Carlson Dash law firm to
     institute litigation to collect accounts receivable with a carve-out for
     costs of administration and general unsecured creditors.
 15. Trustee v. Communication Supply Corp. (u)                                                   0.00                           8,000.00                                             8,000.00                     FA
     Preference/fraudulent conveyance action.
 16. Trustee v. Geosolar Energy Farm, Inc., et al.                                        187,506.23                           55,000.00                                            55,000.00                     FA
     Accounts receivable subject to lien in favor of Bank in excess of value.
     Pursuant to agreement with Bank, retained Carlson Dash law firm to
     institute litigation to collect accounts receivable with a carve-out for
     costs of administration and general unsecured creditors.
 17. Trustee v. Paramount (u)                                                                    0.00                         149,942.39                                            50,000.00                     FA
     Preference action.

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                     $1,392,237.81                         $255,398.39                                          $687,007.92                            $0.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




LFORM1                                                                                                                                                                                                                           Ver: 22.02c
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                                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Page:       3
                                                                                                 ASSET CASES                                                                 Exhibit 8
Case No:            14-45427       TAB     Judge: TIMOTHY A. BARNES                                                  Trustee Name:                      Phillip D. Levey
Case Name:          AEC ELECTRIC CORP.,                                                                              Date Filed (f) or Converted (c):   12/22/14 (f)
                                                                                                                     341(a) Meeting Date:               02/06/15
                                                                                                                     Claims Bar Date:                   08/12/15


   UST review of TFR.


   Initial Projected Date of Final Report (TFR): 03/31/17   Current Projected Date of Final Report (TFR): 03/01/20




LFORM1                                                                                                                                                                             Ver: 22.02c
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-45427 -TAB                                                                                         Trustee Name:                      Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                                   Bank Name:                         ASSOCIATED BANK
                                                                                                                             Account Number / CD #:             *******5133 Checking
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                                Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                                 3                                               4                                            5                       6                 7
    Transaction       Check or                                                                                                      Uniform                                                    Account / CD
       Date           Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                                                                   BALANCE FORWARD                                                                                                           0.00
          07/26/15        8       Dean A. Baba                                     Settlement                                      1241-000                   4,500.00                                  4,500.00
          07/28/15        3       Frank H. Stowell & Sons, Inc.                    ACCOUNTS RECEIVABLE                             1121-000               13,221.23                                    17,721.23
                                  8150 Central Park Avenue
                                  Skokie, IL 60076
          07/28/15        3       Geosolar Energy Farm Inc.                        ACCOUNTS RECEIVABLE                             1121-000                   1,453.18                                 19,174.41
                                  15W271 91st Street
                                  Burr Ridge, IL 60527
          08/02/15        9       Matthew Baba                                     SALE/SETTLEMENT                                 1241-000               18,000.00                                    37,174.41
          08/07/15                ASSOCIATED BANK                                  BANK SERVICE FEE                                2600-000                                           10.00            37,164.41
          08/16/15        3       Knudsen Construction, Inc.                       ACCOUNTS RECEIVABLE                             1121-000                   4,269.23                                 41,433.64
                                  1440 Huntington Drive
                                  Calumet City, IL 60409
          09/08/15                ASSOCIATED BANK                                  BANK SERVICE FEE                                2600-000                                           55.72            41,377.92
          09/24/15        3       Klass Electric Company                           ACCOUNTS RECEIVABLE                             1121-000               10,054.80                                    51,432.72
                                  101 Kelly Unit C
                                  Elk Grove Village, IL 60007
          10/04/15        3       Combined Mechanical Industries, LLC              ACCOUNTS RECEIVABLE                             1121-000                   6,913.00                                 58,345.72
                                  6321 W. Dempster St.-Unit 277
                                  Morton Grove, IL 60053
          10/07/15                ASSOCIATED BANK                                  BANK SERVICE FEE                                2600-000                                           62.91            58,282.81
          10/12/15        3       Riley Construction                               ACCOUNTS RECEIVABLE                             1121-000               40,083.07                                    98,365.88
                                  5301 99th Avenue
          11/06/15                ASSOCIATED BANK                                  BANK SERVICE FEE                                2600-000                                          123.75            98,242.13
          11/09/15       10       Leslie Geissler Munger                           Unclaimed Property Payment                      1290-000                   1,626.00                                 99,868.13
                                  Comptroller - State of Illinois
          11/09/15        3       Klass Electric Company                           ACCOUNTS RECEIVABLE                             1121-000                    350.00                              100,218.13
                                  101 Kelly Unit C
                                  Elk Grove Village, IL


                                                                                                                             Page Subtotals              100,470.51                   252.38
                                                                                                                                                                                                       Ver: 22.02f
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             14-45427 -TAB                                                                                              Trustee Name:                      Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                                        Bank Name:                         ASSOCIATED BANK
                                                                                                                                  Account Number / CD #:             *******5133 Checking
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                                     Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                  Separate Bond (if applicable):


           1              2                                 3                                              4                                                  5                       6                  7
    Transaction       Check or                                                                                                           Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction               Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
          11/09/15        3       Northwestern University                         ACCOUNTS RECEIVABLE                                   1121-000               41,844.44                                 142,062.57
                                  2020 Ridge Ave.                                 Settlement per Order dated 10-13-15.
                                  Evanston, I(L 60208
          11/09/15        3       CJE Senior Life                                 ACCOUNTS RECEIVABLE                                   1121-000                   2,554.00                              144,616.57
                                  3003 West Touhy Ave.
                                  Chicago, IL
          11/10/15        3       Rex Electric & Technologies, LLC                ACCOUNTS RECEIVABLE                                   1121-000                    575.75                               145,192.32
                                  200 W. Monroe Street-Suite 1700
                                  Chicago, IL 60606
          11/19/15        3       Verna Stovall                                   ACCOUNTS RECEIVABLE                                   1121-000                    250.00                               145,442.32
                                  One E. Schiller
                                  Chicago, IL
          11/19/15        3       Donna Moore                                     ACCOUNTS RECEIVABLE                                   1121-000                    250.00                               145,692.32
                                  1 E. Schiller
                                  Chicago, IL
          11/24/15     010001     Carlson Dash, LLC                               Special Counsel Fees                                  3210-000                                      77,195.80              68,496.52
                                  216 South Jefferson Street                      Special Counsel Fees per Order dated November 18,
                                  Chicago, IL 60661                               2015.
          11/24/15     010002     Carlson Dash, LLC                               Special Counsel Expenses                              3220-000                                          3,400.11           65,096.41
                                  216 South Jefferson Street                      Special Counsel Expenses per Order dated November
                                  Chicago, IL 60661                               18, 2015.
          11/24/15     010003     Phillip D. Levey                                Trustee Compensation                                  2100-000                                          8,340.94           56,755.47
                                  2722 North Racine Avenue                        Trustee compensation pursuant to Orders dated
                                  Chicago, IL 60614                               October 27, 2015, and August 19, 2015, re
                                                                                  Collections Distribution Agreement with Bank.
          11/24/15     010004     Community Bank of Oak Park River Forest         Receivables Distirbution                              4210-000                                      29,040.92              27,714.55
                                  1001 Lake Street                                Payment to Bank pursuant to Orders dated October
                                  Oak Park, IL 60301                              27, 2015, and August 19, 2015, re Collections
                                                                                  Distribution Agreement with Bank re accounts
                                                                                  receivable collections.

                                                                                                                                  Page Subtotals               45,474.19              117,977.77
                                                                                                                                                                                                             Ver: 22.02f
LFORM24
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             14-45427 -TAB                                                                                              Trustee Name:                      Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                                        Bank Name:                         ASSOCIATED BANK
                                                                                                                                  Account Number / CD #:             *******5133 Checking
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                                     Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                  Separate Bond (if applicable):


           1              2                               3                                                 4                                                 5                       6                  7
    Transaction       Check or                                                                                                           Uniform                                                     Account / CD
       Date           Reference                 Paid To / Received From                         Description Of Transaction              Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
          12/07/15                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                          167.93             27,546.62
          12/08/15     010005     Cornerstone Solutions, Inc.                      Computer Software Consultant                         2990-000                                          591.00             26,955.62
                                  901 West Jackson Blvd. - Suite 402               Consulting services re Sage accounting program to
                                  Chicago, IL 60607                                generate invoices re pre-petition work.
          12/20/15        3       One East Schiller                                ACCOUNTS RECEIVABLE                                  1121-000                    570.00                                   27,525.62
                                  One East Schiller
                                  Chicago, IL 60610
          12/20/15        3       G.A. Johnson & Son                               ACCOUNTS RECEIVABLE                                  1121-000                   7,881.00                                  35,406.62
                                  828 Foster Street
                                  Evanston, IL 60201
          12/20/15        3       G.A. Johnson & Son                               ACCOUNTS RECEIVABLE                                  1121-000                    350.00                                   35,756.62
                                  828 Foster Street                                Reimbursement of Costs
                                  Evanston, IL 60201
          12/20/15        3       Knudsen Construtction, Inc.                      ACCOUNTS RECEIVABLE                                  1121-000                    780.00                                   36,536.62
                                  1440 Huntington Drive                            Reimbrusement of Costs
                                  Calumet City, IL 60409
          01/08/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           80.77             36,455.85
          02/05/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           54.21             36,401.64
          02/29/16     010006     Arthur B. Levine Co., Inc.                       TRUSTEE'S BOND                                       2300-000                                           27.15             36,374.49
                                  370 Lexington Avnue
                                  Suite 1101
                                  New York, NY 10017
          03/07/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           50.62             36,323.87
          04/07/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           54.01             36,269.86
          05/06/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           52.18             36,217.68
          05/18/16       11       Albert Baba                                      SETTLEMENT                                           1249-000               10,000.00                                     46,217.68
          06/07/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           60.56             46,157.12
          07/08/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           66.41             46,090.71
          07/24/16     010007     Veritext Midwest                                 Court Reporter                                       2990-000                                          155.00             45,935.71


                                                                                                                                  Page Subtotals               19,581.00                  1,359.84
                                                                                                                                                                                                             Ver: 22.02f
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                                          Case 14-45427                  Doc 440   Filed 11/09/20 Entered 11/09/20 08:38:54                                Desc Main
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             14-45427 -TAB                                                                                              Trustee Name:                      Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                                        Bank Name:                         ASSOCIATED BANK
                                                                                                                                  Account Number / CD #:             *******5133 Checking
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                                     Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                  Separate Bond (if applicable):


           1              2                                3                                                4                                                 5                       6                  7
    Transaction       Check or                                                                                                           Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction              Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                  1 North Franklin Street - Suite 3000             Rule 2004 of Edward Baba
                                  Chicago, IL 60606
          08/05/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           68.53             45,867.18
          08/08/16     010008     Technology Support & Solutions, Inc.             Computer Hosting Services                           2410-000                                            60.00             45,807.18
                                  123 West Madison Street                          Invoice Nos. 8275, 8336 and 8428 for period May 11,
                                  Suite 500                                        2016, thru August 10, 2016.
                                  Chicago, IL 60602
          09/08/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           68.13             45,739.05
          09/15/16        3       MEP Infrastructure Solutions, Inc.               ACCOUNT RECEIVABLE                                     1121-000             19,496.84                                     65,235.89
                                  180 North Stetson #1500                          Settlement of Trustee v. MEP Infrastructure Solutions,
                                  Chicago, IL 60601                                Inc. per Order dated 6/29/16.
          10/07/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           80.77             65,155.12
          11/07/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           96.86             65,058.26
          12/07/16                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           93.60             64,964.66
          01/09/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           96.58             64,868.08
          01/13/17     010009     Technology Support & Solutions, Inc.             Computer maintenace and hosting.                     2410-000                                          593.20             64,274.88
                                  123 West Madison Street - Suite 500              Invoice Nos. 8105, 8520, 8593, 8665, 8738 and 8804
                                  Chicago, IL 60602                                re computer maintenance and hosting.
          02/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           96.05             64,178.83
          03/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           86.19             64,092.64
          03/23/17     010010     International Sureties, Ltd.                     TRUSTEE'S BOND                                       2300-000                                           19.79             64,072.85
                                  701 Poydras St. - Suite 420
                                  New Orleans, LA 70139
          04/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           95.28             63,977.57
          05/05/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           92.05             63,885.52
          06/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                     2600-000                                           94.97             63,790.55
          06/19/17       12       Avondale Electric                                SETTLEMENT                                           1241-000                   8,330.00                                  72,120.55
                                  1475 Brummel Ave.                                Settlement per Order dated 5-30-17.
                                  Elk Grove Village, IL


                                                                                                                                  Page Subtotals               27,826.84                  1,642.00
                                                                                                                                                                                                             Ver: 22.02f
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                                          Case 14-45427                  Doc 440   Filed 11/09/20 Entered 11/09/20 08:38:54                                 Desc Main
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit 9
  Case No:             14-45427 -TAB                                                                                               Trustee Name:                      Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                                         Bank Name:                         ASSOCIATED BANK
                                                                                                                                   Account Number / CD #:             *******5133 Checking
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                                      Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                3                                                4                                                  5                       6                   7
     Transaction      Check or                                                                                                            Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                          Description Of Transaction               Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          06/19/17       13       Consolidated Electrical Distributors             SETTLEMENT                                            1241-000                   9,000.00                                   81,120.55
                                  4775 Centennial Blvd.                            Settlement per Order dated 5-30-17.
                                  Suite 180
                                  Colorado Springs, CO
          07/10/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                            100.89            81,019.66
          08/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                            120.46            80,899.20
          08/09/17       14       W.B. Olson, Inc.                                 SETTLEMENT OF ACCOUNT RECEIVABLE                      1121-000               15,542.38                                      96,441.58
                                  3235 Arnold Lane
                                  Northbrook, IL
          09/08/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                            137.41            96,304.17
          10/06/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                            138.57            96,165.60
          11/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                            142.96            96,022.64
          12/07/17                ASSOCIATED BANK                                  BANK SERVICE FEE                                      2600-000                                            138.16            95,884.48
 *        12/21/17     010011     Saul Ewing Arnstein & Lehr, LLP                  Trustee's Special Counsel Fees                        3210-003                                          7,545.20            88,339.28
                                  f/k/a Arnsetin & Lehr, LLP                       Interim attorney fees per Order dated December 20,
                                  161 North LaSalle Street                         2017.
                                  Suite 4200
                                  Chicago, IL 60601
          12/21/17     010012     Saul Ewing Arnstein & Lehr, LLP                  Trustee's Special Counsel Expenses                    3220-000                                          1,768.33            86,570.95
                                  f/k/a Arnsetin & Lehr, LLP                       Reimbursement of costs advanced per Order dated
                                  161 North LaSalle Street                         December 20, 2017.
                                  Suite 4200
                                  Chicago, IL 60601
 *        12/26/17     010011     Saul Ewing Arnstein & Lehr, LLP                  Trustee's Special Counsel Fees                        3210-003                                          -7,545.20           94,116.15
                                  f/k/a Arnsetin & Lehr, LLP                       Check issued in incorrect amount. Check reissued in
                                  161 North LaSalle Street                         correct amount.
                                  Suite 4200
                                  Chicago, IL 60601
          12/26/17     010013     Saul Ewing Arnstein & Lehr, LLP                  Trustee's Special Counsel Fees                        3210-000                                          5,776.67            88,339.48
                                  f/k/a Arnsetin & Lehr, LLP                       Interim attorney fees per Order dated December 20,

                                                                                                                                  Page Subtotals                24,542.38                   8,323.45
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                                          Case 14-45427              Doc 440     Filed 11/09/20 Entered 11/09/20 08:38:54                                    Desc Main
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit 9
  Case No:             14-45427 -TAB                                                                                                Trustee Name:                      Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                                          Bank Name:                         ASSOCIATED BANK
                                                                                                                                    Account Number / CD #:             *******5133 Checking
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                                       Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                    Separate Bond (if applicable):


           1              2                                  3                                             4                                                    5                       6                   7
    Transaction       Check or                                                                                                             Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction                 Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                  161 North Clark Street                          2017.
                                  Suite 4200
                                  Chicago, IL 60601
          01/08/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                        2600-000                                           140.94             88,198.54
          01/25/18       15       Wesco Distribution, Inc.                        SETTLEMENT                                              1241-000                   8,000.00                                   96,198.54
                                  Box 2458                                        Settlement per Order dated 12-20-2017.
                                  Pittsburgh, PA 15230
          02/07/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                        2600-000                                           133.82             96,064.72
          02/22/18     010014     International Sureties, Ltd.                    Trustee's Bond                                          2300-000                                            38.87             96,025.85
                                  701 Poydras Street - Suite 420
                                  New Orleans, LA 70139
          03/07/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                        2600-000                                           129.00             95,896.85
          03/18/18        3       Northwestern University                         SETTLEMENT OF ACCOUNT RECEIVABLE                        1121-000              108,000.00                                  203,896.85
                                  Accounts Payable                                Settlement installment per Order dated 10-4-17.
                                  2020 Ridge Avenue
                                  Evanston, IL 60208
          03/18/18        3       Northwestern University                         SETTLEMENT OF ACCOUNT RECEIVABLE                        1121-000              200,000.00                                  403,896.85
                                  Accounts Payable                                Settlement installment per Order dated 10-4-17.
                                  2020 Ridge Avenue
                                  Evanston, IL 60208
          03/23/18       16       Springbrook Animal Care Center, LLC             SETTLEMENT OF ACCOUNT RECEIVABLE                        1121-000               55,000.00                                  458,896.85
                                                                                  Settlement per Order dated 10-25-17.
          03/25/18     010015     Saul Ewing Arnstein & Lehr, LLP                 Compensation to Special Counsel                         3210-000                                          2,666.67        456,230.18
                                  f/k/a Arnstein Lehr, LLP                        Special Counsel Fees pursuant to Order dated
                                  161 North Clark Street                          December 20, 2017.
                                  Suite 4200
                                  Chicago, IL 60601
          03/29/18     010016     Carlson Dash, LLC                               Trustee's Special Counsel Fees                                                                        71,329.73           384,900.45
                                  216 South Jefferson Street                      Payment of Trustee's Special Counsel fees per Orders
                                  Chicago, IL 60606                               dated May 3, 2016, and February 28, 2018 re Second

                                                                                                                                    Page Subtotals              371,000.00                  74,439.03
                                                                                                                                                                                                                Ver: 22.02f
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             14-45427 -TAB                                                                                              Trustee Name:                    Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                                        Bank Name:                       ASSOCIATED BANK
                                                                                                                                  Account Number / CD #:           *******5133 Checking
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                                     Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                  Separate Bond (if applicable):


           1              2                               3                                                 4                                                 5                     6                 7
    Transaction       Check or                                                                                                           Uniform                                                  Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction              Tran. Code       Deposits ($)      Disbursements ($)       Balance ($)
                                                                                  Application for Compensation and Expenses.
                                                                                         Fees                   70,299.00               3210-000
                                                                                         Expenses                1,030.73               3220-000
          03/29/18     010017     Community Bank of Oak Park RiverForest          Receivables Distribution                              4210-000                                     95,000.00        289,900.45
                                  1001 Lake Street                                Payment of secured claim per Order dated February
                                  Oak Park, IL                                    28, 2018.
          03/29/18     010018     Carlson Dash, LLC                               Trustee's Special Counsel Fees                                                                    123,521.78        166,378.67
                                  216 South Jefferson Street                      Payment of Trustee's Special Counel's Third Interim
                                  Chicago, IL 60606                               Application for Compensation per Order dated
                                                                                  February 28, 2018.
                                                                                         Fees                   121,201.00              3210-000
                                                                                         Expenses                2,320.78               3220-000
          04/06/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                      2600-000                                        339.59        166,039.08
          05/07/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                      2600-000                                        321.27        165,717.81
          05/08/18        3       Power Construction Company, LLC                 ACCOUNTS RECEIVABLE                                   1121-000               48,113.00                              213,830.81
                                  8750 W. Bryn Mawr, Ste. 500
                                  Chicago, IL
          06/07/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                      2600-000                                        301.76        213,529.05
          07/09/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                      2600-000                                        307.22        213,221.83
          08/07/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                      2600-000                                        317.03        212,904.80
          09/10/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                      2600-000                                        316.53        212,588.27
          10/05/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                      2600-000                                        305.91        212,282.36
          11/07/18                ASSOCIATED BANK                                 BANK SERVICE FEE                                      2600-000                                        315.57        211,966.79
          12/12/18                Trsf To Axos Bank                               FINAL TRANSFER                                        9999-000                                    211,966.79                 0.00




                                                                                                                                  Page Subtotals               48,113.00             433,013.45
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit 9
  Case No:             14-45427 -TAB                                                                                     Trustee Name:                    Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                               Bank Name:                       ASSOCIATED BANK
                                                                                                                         Account Number / CD #:           *******5133 Checking
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                            Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                         Separate Bond (if applicable):


          1               2                             3                                            4                                               5                       6                  7
    Transaction       Check or                                                                                                  Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)

                                                                                                     COLUMN TOTALS                                   637,007.92              637,007.92                  0.00
                                                                                                         Less: Bank Transfers/CD's                         0.00              211,966.79
                                                                                                     Subtotal                                        637,007.92              425,041.13
                                                                                                         Less: Payments to Debtors                                                 0.00
                                                                                                     Net
                                                                                                                                                     637,007.92              425,041.13




                                                                                                                         Page Subtotals                        0.00                  0.00
                                                                                                                                                                                                    Ver: 22.02f
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             14-45427 -TAB                                                                                               Trustee Name:                    Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                                         Bank Name:                       Axos Bank
                                                                                                                                   Account Number / CD #:           *******0061 Checking Account
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                                      Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                 3                                                4                                                 5                     6                 7
    Transaction       Check or                                                                                                             Uniform                                                 Account / CD
       Date           Reference                Paid To / Received From                           Description Of Transaction               Tran. Code      Deposits ($)      Disbursements ($)       Balance ($)
                                                                                  BALANCE FORWARD                                                                                                               0.00
          12/12/18                Trsf In From ASSOCIATED BANK                    INITIAL WIRE TRANSFER IN                                9999-000             211,966.79                              211,966.79
          02/27/19       17       Paramount EO Inc.                               SETTLEMENT INSTALLMENT                                  1241-000              10,000.00                              221,966.79
                                                                                  Settlement installment per Order dated 1-9-19.
          03/31/19       17       Paramount EO Inc.                               SETTLEMENT INSTALLMENT                                  1241-000              15,000.00                              236,966.79
                                                                                  Settlement installment per Order dated 1-9-19.
          04/06/19     002001     Inernational Sureties, Ltd.                     TRUSTEE'S BOND                                          2300-000                                        90.91        236,875.88
                                  701 Poydras Street                              BOND #016073584
                                  Suite 420
                                  New Orleans, LA 70139                           Premium 2/1/19 - 2/1/20
          06/04/19       17       Paramount EO, Inc.                              SETTLEMENT INSTALLMENT                                  1241-000              25,000.00                              261,875.88
                                                                                  Settlement installment per Order dated 1-9-19.
          07/22/19     002002     Saul Ewing Arnstein & Lehr, LLP                 Trustee's Special Counsel Fees & Ex                                                                16,674.07         245,201.81
                                  161 North Clark Street                          Trustee's special counsel fees and expenses per Order
                                  Chicago, IL                                     dated July 16, 2019.
                                                                                          Fees                   16,666.67                3210-000
                                                                                          Expenses                 7.40                   3220-000
          08/07/19     002003     CARLSON DASH, LLC                               Special Counsel Fees                                                                               62,174.93         183,026.88
                                  216 S. Jefferson Street, Suite 504              Payment re Trustee's Special Counsel's Fourth and
                                  Chicago, Illinois 60661                         Final Application for Payment of Compensation and
                                                                                  Reimbursement of Expenses pursuant to Order dated
                                                                                  August 6, 2019.
                                                                                          Fees                   61,923.00                3210-000
                                                                                          Expenses                251.93                  3220-000
          05/22/20     002004     Phillip D. Levey                                TRUSTEE FEE                                             2100-000                                   29,259.46         153,767.42
                                  2722 North Racine Avenue
                                  Chicago, IL 60614
          05/22/20     002005     Phillip D. Levey                                Trustee Expenses                                        2200-000                                       525.32        153,242.10
                                  2722 North Racine Avenue


                                                                                                                                   Page Subtotals              261,966.79            108,724.69
                                                                                                                                                                                                           Ver: 22.02f
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             14-45427 -TAB                                                                                          Trustee Name:                    Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                                    Bank Name:                       Axos Bank
                                                                                                                              Account Number / CD #:           *******0061 Checking Account
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                                 Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1              2                               3                                                    4                                          5                       6                   7
    Transaction       Check or                                                                                                       Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Chicago, IL 60614
          05/22/20     002006     Clerk, U.S. Bankruptcy Court                     Deferred filing fee re 363(f) sale.              2700-000                                           176.00         153,066.10
                                  219 South Dearborn Street
                                  Chicago, IL
          05/22/20     002007     Phillip D. Levey                                 Attorney for Trustee Fees (Trustee               3110-000                                       55,800.00              97,266.10
                                  2722 North Racine Avenue
                                  Chicago, IL 60614
          05/22/20     002008     Kutchins, Robbins & Diamond, Ltd.                Accountant for Trustee Fees (Other               3410-000                                          4,888.50            92,377.60
                                  1101 Perlmeter Drive, Suite 760
                                  Schaumburg, Illinois 60173
          05/22/20     002009     National Electrical Benefit Fund                 Claim 000012A, Payment 100.00000%                5400-000                                          4,421.13            87,956.47
                                  2400 Research Blvd
                                  Rockville, MD 20850-3266
          05/22/20     002010     Illinois Dept of Employment Security             Claim 000018-A, Payment 100.00000%               5800-000                                          1,315.21            86,641.26
                                  33 South State Street
                                  Attn: Bankruptcy Unit - 10th Floor
                                  Chicago, IL 60603
          05/22/20     002011     Illinois Department of Revenue                   Claim 000019, Payment 100.00000%                 5800-000                                           222.39             86,418.87
                                  PO Box 19035
                                  Springfield, IL 62794-9035
          05/22/20     002012     Internal Revenue Service                         Claim 000020, Payment 100.00000%                 5800-000                                            63.86             86,355.01
                                  PO BOX 7346
                                  Philadelphia PA, 19101
          05/22/20     002013     Penske Truck Leasing Co., L.P.                   Claim 000001, Payment 22.16982%                  7100-000                                           839.52             85,515.49
                                  PO Box 563                                       (1-1) Account Number (last 4
                                  Reading, PA 19603-0563                           digits):5226
          05/22/20     002014     Sprint Corp.                                     Claim 000002, Payment 22.17003%                  7100-000                                           752.34             84,763.15
                                  Attn Bankruptcy Dept
                                  PO Box 7949
                                  Overland Park KS 66207-0949

                                                                                                                              Page Subtotals                        0.00              68,478.95
                                                                                                                                                                                                          Ver: 22.02f
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit 9
  Case No:             14-45427 -TAB                                                                                               Trustee Name:                    Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                                         Bank Name:                       Axos Bank
                                                                                                                                   Account Number / CD #:           *******0061 Checking Account
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                                      Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                3                                                4                                                  5                       6                   7
    Transaction       Check or                                                                                                            Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction               Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          05/22/20     002015     GreatAmerica Financial Services Corp.           Claim 000003, Payment 22.16992%                        7100-000                                          3,274.30            81,488.85
                                  ATTN: Peggy Upton, Litigation Specialist
                                  P.O. Box 609
                                  Cedar Rapids, IA 52406
          05/22/20     002016     SimplexGrinnell                                 Claim 000004, Payment 22.16995%                        7100-000                                          3,004.45            78,484.40
                                  50 Technology Drive
                                  Westminster, MA 01441
          05/22/20     002017     Metropolitan Industries, Inc.                   Claim 000005, Payment 22.16993%                        7100-000                                          9,606.01            68,878.39
                                  37 Forestwood Drive
                                  Romeoville, IL 60446
          05/22/20     002018     C.W. Olson & Company                            Claim 000006, Payment 22.16994%                        7100-000                                       28,039.17              40,839.22
                                  Stein Ray LLP (Attn: Andrew Donivan)            (6-1) Wage & Welfare Bond
                                  222 West Adams Street, Suite 1800               Agreements
                                  Chicago, IL 60606                               (6-1) Modified on 7/09/15 to correct creditors
                                                                                  address(DR)(6-2) Account Number (last 4
                                                                                  digits):0102
          05/22/20     002019     Dell Financial Services, LLC                    Claim 000008, Payment 22.17002%                        7100-000                                           803.16             40,036.06
                                  Resurgent Capital Services
                                  PO Box 10390
                                  Greenville, SC 29603-0390
          05/22/20     002020     Paychex Inc                                     Claim 000009, Payment 22.16993%                        7100-000                                          4,779.13            35,256.93
                                  Attn Bankruptcy Dept
                                  225 Kenneth Drive Ste 100
                                  Rochester, NY 14623
          05/22/20     002021     CRP Holdings C, L.P.                            Claim 000010, Payment 22.16992%                        7100-000                                          4,878.00            30,378.93
                                  Collette A. Brown                               (10-1) Account Number (last 4
                                  Neal, Gerber & Eisenberg, LLP                   digits):6014
                                  Two N. LaSalle St., Suite 1700
                                  Chicago, IL 60602
          05/22/20     002022     Paul Horak                                      Claim 000011, Payment 22.17000%                        7100-000                                           975.48             29,403.45

                                                                                                                                   Page Subtotals                        0.00              55,359.70
                                                                                                                                                                                                               Ver: 22.02f
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                                          Case 14-45427               Doc 440    Filed 11/09/20 Entered 11/09/20 08:38:54                              Desc Main
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                       Exhibit 9
  Case No:             14-45427 -TAB                                                                                         Trustee Name:                       Phillip D. Levey
  Case Name:           AEC ELECTRIC CORP.,                                                                                   Bank Name:                          Axos Bank
                                                                                                                             Account Number / CD #:              *******0061 Checking Account
  Taxpayer ID No:    *******5897
  For Period Ending: 10/12/20                                                                                                Blanket Bond (per case limit):      $ 5,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                              4                                                 5                          6                         7
    Transaction       Check or                                                                                                      Uniform                                                               Account / CD
       Date           Reference                Paid To / Received From                       Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                  9519 271st Ave
                                  Trevor, WI
          05/22/20     002023     National Electrical Benefit Fund                Claim 000012B, Payment 22.16992%                 7100-000                                                212.43                   29,191.02
                                  2400 Research Blvd
                                  Rockville, MD 20850-3266
          05/22/20     002024     Northwestern University                         Claim 000013, Payment 22.16994%                  7100-000                                            29,191.02                          0.00
                                  As Assignee of Gus Berthold Electric Co.
                                  Attention: John W. Calkins
                                  633 Clark Street
                                  Evanston, IL 60208

                                                                                                         COLUMN TOTALS                                    261,966.79                  261,966.79                           0.00
                                                                                                             Less: Bank Transfers/CD's                    211,966.79                        0.00
                                                                                                         Subtotal                                           50,000.00             261,966.79
                                                                                                             Less: Payments to Debtors                                                  0.00
                                                                                                         Net
                                                                                                                                                            50,000.00             261,966.79
                                                                                                                                                                                 NET                             ACCOUNT
                                                                                                         TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                                 Checking - ********5133                   637,007.92                  425,041.13                          0.00
                                                                                                         Checking Account - ********0061                     50,000.00                 261,966.79                          0.00
                                                                                                                                                 ------------------------    ------------------------   ------------------------
                                                                                                                                                           687,007.92                  687,007.92                          0.00
                                                                                                                                                 ==============             ==============              ==============
                                                                                                                                                  (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                             Transfers)               To Debtors)                    On Hand




                                                                                                                             Page Subtotals                        0.00                   29,403.45
                                                                                                                                                                                                                    Ver: 22.02f
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